            Case 4:20-cv-40047-TSH Document 27 Filed 02/12/21 Page 1 of 3




                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS


TAYLOR PINCKNEY,

                Plaintiff,

       v.

QUINSIGAMOND COMMUNITY                                Civil Action No: 4:20-cv-40047
COLLEGE, and PRISCILLA UNDERWOOD,
in her Individual and Official Capacity as a
Professor at Quinsigamond Community
College,

                Defendants.


                       STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Fed. R. Civ. P. 41(a)(ii), all parties stipulate that this action is hereby dismissed,

with prejudice and without rights of appeal, with each party to bear its own costs and fees.




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Case 4:20-cv-40047-TSH Document 27 Filed 02/12/21 Page 2 of 3




                           Respectfully Submitted,

                           Plaintiff TAYLOR PINCKNEY,

                           By his attorneys,

                           KJC Law Firm, LLC

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                           Defendant QUINSIGAMOND COMMUNITY
                           COLLEGE,

                           By its attorneys

                           MAURA HEALEY
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                              2
         Case 4:20-cv-40047-TSH Document 27 Filed 02/12/21 Page 3 of 3




                                    Defendant PRISCILLA UNDERWOOD,

                                    By her attorneys,

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Date: February 12, 2021




                                       3
